Case 1:18-md-02865-LAK   Document 139-10   Filed 06/12/19   Page 1 of 5




              EXHIBIT J
   Case 1:18-md-02865-LAK                 Document 139-10             Filed 06/12/19         Page 2 of 5



   
  



                                           
                                    
                


   

               
            
  !          "    #
 $   %       

&            
     

'  (       #  
 $   %       )) )  
  (          ))
            
          
   #  *    (    
    (       

+       (      (
(  #            
 #              

 +          #      
    (     #     ,  
     # '     
   ))     # (  
   !  (     )      
          (        -
     # (      
   #            )  
     #

          
            
  (           .

    $   %    
, (     /  #   
    #  %   
   (   $   %  
,   012&/ 3         0/
4 / 3
Case 1:18-md-02865-LAK   Document 139-10   Filed 06/12/19   Page 3 of 5
   Case 1:18-md-02865-LAK              Document 139-10          Filed 06/12/19       Page 4 of 5



LBKG 2019-01-22 no 66
Tax Assessment Act

§ 14 G

As last amended by: L 2005 428 § 42 paragraph 1 no. 14 , L 2005 428 § 42 paragraph 1 no. 15 ,
L 2005 428 § 42 paragraph 1 no. 16 , L 2005 428 § 42 paragraph. 1 no. 17 and L 2005 428 § 42
paragraph 1 no. 18

Effective: 2005-06-08

When calculating taxpayer income, the owner of a rental property shall not include the portion of
rental income corresponding to the amount that shall be disposed of pursuant to § 63a of the Rental
Act or pursuant to § 18b of the Housing Regulation Act. The same applies to allowances which,
pursuant to §4 of the Local Authorization Act, are allocated to the property's account in the
Landowners' Investment Fund pursuant to §18b of the Housing Regulation Act.

Paragraph 2. Interest on amounts that are claimed under §63a of the Rental Act or §18b of the
Housing Regulation Act is not included in the calculation of the taxable income.

Paragraph 3. The amount for maintenance and improvement of the property, which is deducted from
the annual payment to the property's account in the Landowners' Investment Fund created pursuant to
§22a paragraph 2 of the Housing Regulation Act, and expenses, which are paid for from the account
created pursuant to §63e of the Rental Act or §22b of the Housing Regulation Act, cannot be deducted
from the calculation of the taxable income or be included in the calculation of the basis for tax
depreciation and in the purchase price when calculating taxpayers profit on the sale of the property.
The cost of maintenance and improvement of the property is ideally calculated according to the first
point.

Paragraph 4. If the total cost of maintenance and improvement of a rental property held by an owner
during an income year exceeds the sum of the deducted and paid amounts pursuant to paragraph 3 for
the same income year, then the amounts referred to in paragraph 3 shall go primarily towards the
improvement of the property.

Paragraph. 5. If the sum of the deducted and paid amounts pursuant to paragraph 3 for an income
year exceeds the total maintenance and improvement of the property in the same income year, the
excess shall be included in the owner's taxable income for that income year. Amounts paid pursuant to
§ 63f of the Rental Act, or § 22e of the Housing Regulation Act, are included in the owner's taxable
income for the income year, in which said amounts may require payment. However, after applying the
principles of the 1st and 2nd paragraphs, the taxable amount is first reduced by an amount equal to the
expenses, held for improvement of the property after January 1, 1983, to the extent prior income years
have exceeded the sum of the amounts referred to in paragraph 3 and have not been used in previous
income years to reduce the taxable amounts post-applications of paragraph 1 and 2.



Paragraph. 6. The Minister of Taxation may decide that for properties covered by § 63a of the Rental
Act or § 18b of the Housing Regulation Act, a special account be kept for amounts used for property
maintenance and improvement and for the amounts referred to in paragraphs 3 and 5.

Paragraph. 7. The Minister of Taxation may stipulate that the Landowners' Investment Fund must
   Case 1:18-md-02865-LAK             Document 139-10         Filed 06/12/19       Page 5 of 5



provide information to tax authorities about payments to and from the property's account pursuant to
§63a of the Rental Act and §18b of the Housing Regulation Act and about the account's balance. In
this regard, the Minister of Taxation can stipulate that the account holders must provide the
Landowners' Investment Fund information with social security numbers (Social Security no.) or
employer number associated with the withholding tax scheme (SE or Reg.no.).
